Dear Mr. Rein:
This office is in receipt of your opinion request where you ask us to consider who may serve in the place of a mayor on a mayor's court when an official request is made. Specifically you ask the following:
      "May a Justice of Peace, upon the official request of a mayor or other municipal official, serve as magistrate ad hoc or as a substitute for the mayor on the mayor's court in the event of an emergency or necessity and if so may he accept reasonable compensation?"
In addressing your inquiry, we look first to the provisions on Mayor's Courts contained in LSA-R.S. 33:441, which provides in pertinent part,
      "B. Notwithstanding any other provision of the law to the contrary, the board of aldermen in his discretion may, upon request of the mayor, appoint an attorney who shall be designated as court magistrate and who shall serve at the pleasure of the mayor and may from time to time be designated by the mayor to serve in his stead as the presiding official over the mayor's court. Whenever the magistrate is so designated by the mayor to preside over the mayor's court, he shall exercise the powers and authority of the mayor over said court. The board of aldermen shall fix and pay the salary of the magistrate, if one is appointed."
Under this provision, it is the board of aldermen who are given the authority to appoint a court magistrate, who is required to be an attorney. The magistrate is the person given the authority to serve in the absence of the mayor. There are no provisions concerning the appointment of a magistrate ad hoc to serve as a replacement for the mayor. Therefore, in order for you to serve in the absence of the mayor, you would need to be appointed as magistrate for his court by the board of aldermen.
As a justice of the peace, you bound by the code of judicial conduct and ethics. This opinion gives our interpretation of the law, but does not consider ethical restraints, if any, which would be imposed under authority of the Judiciary Commission. For an ethical consideration of this issue, please contact:
                Judiciary Commission of Louisiana Attention: Mr. Steven Scheckman Office of Special Counsel 601 St. Charles Avenue New Orleans, Louisiana 70130 telephone number: 504-568-8299
In conclusion, a justice of the peace must be an attorney and must be appointed as magistrate for the mayor's court by the board of aldermen in order to serve in the mayor's absence. The justice of the peace should also consult the Louisiana Judiciary Commission regarding any ethical considerations of this issue. We hope the foregoing sufficiently answers your inquiry. If this office may be of any further assistance to you, please contact us.
Very truly yours,
                                 RICHARD P. IEYOUB ATTORNEY GENERAL
                             By: ________________________________ J. RICHARD WILLIAMS Assistant Attorney General
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